Case 16-21262-AJC Doc150 Filed 08/07/17 Page 1 of 21

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
In re: : CASE NO.: 16-21262-AJC
MOSHE ENBAR, : CHAPTER 7

Debtor. :
/

MOTION TO APPROVE STIPULATION TO COMPROMISE CONTROVERSY

COMES NOW, Robert A. Angueira (hereinafter “the Trustee”), and files this Motion to

Approve Stipulation to Compromise Controversy in the above-styled case, and states as follows:

1. The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on August
16, 2017 (the “Petition Date’).

2. Robert A. Angueira is the duly appointed Chapter 7 Trustee.

3. The §341 Meeting of Creditors was held and concluded on September 15, 2016 (the “341
Meeting of Creditors’).

4, The Trustee, through counsel, conducted a Rule 2004 Examination of the Debtor on
November 14, 2016.

5. The Trustee, through counsel, conducted a Rule 2004 Examination of the Debtor’s wife,
Linda Enbar, on February 8, 2017.

6. The Trustee conducted a Rule 2004 Examination of the Debtor on May 2, 2017.

7. The Trustee has investigated, among other things, the propriety of the Debtor's claimed
exemptions, the Debtor’s financial condition, and the Debtor’s business transactions.

8. The Trustee has found no evidence that the Debtor has transferred, removed, destroyed,

mutilated, or concealed, or permitted to be transferred, removed, destroyed, mutilated, or
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 2 of 21

Case No.: 16-21262-AJC

concealed property of the debtor, within one year before the date of the filing of the petition.

9. The Trustee has not found evidence that the Debtor has in or in connection with the case
made a false oath or account.

10. The Trustee has not found evidence that the Debtor has withheld from the Trustee any
recorded information, including books, documents, records, and papers, relating to the debtor's
property or financial affairs.

11. The Debtor has not failed to explain satisfactorily any loss of assets or deficiency of
assets to meet the Debtor's liabilities.

12. The Trustee has: investigated transactions related to- 210 174 St. #1716 Sunny Isles
Beach, FL 33160, 345 Broadway Lawrence, NY 11559, and 19355 Turnberry Way #26A
Aventura, FL 33180; investigated any transactions regarding the following trusts, which may or
may not exist- Lawrence Enbar Trust, Linda Enbar Asset Trust, Adam Enbar Trust, Melissa
Benzel Trust; evaluated the Debtor’s listed Household Goods and Furnishings, Electronics,
Jewelry, Magnum Real Estate Services, Inc.; investigated the following entities- Magnum Realty
Holdings LLC, Lawrence Moving and Storage, Inc., and 164 West 146 Street LLC, Enbar
Investments LLC; and generally investigated the Debtor’s financial condition and business
transactions.

13. In order to, among other things: (a) avoid the costs and uncertainties of further discovery
and litigation; and (b) ensure that the totality of any recovery is not consumed by administrative
expenses, without any of the Parties admitting any fault or liability, the Parties agreed to settle
this matter amicably and without further litigation all the matters in this case and have all signed

the Stipulation to Compromise Controversy that is enclosed as Exhibit “1”.
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 3 of 21

Case No.: 16-21262-AJC

The Settlement

14. The Settling Parties agree to pay to the Trustee, and the Trustee agrees to accept, the total
sum of Fifteen Thousand and 0/100 dollars ($15,000.00) in cleared funds (the "Settlement
Amount’), to be paid within 5 days after the order approving the Settlement becomes final and
non-appealable.

15. The Settlement Payment shall be made via cashier’s check or money orders made
payable to “Robert Angueira, Trustee,” shall clearly state the name of the Debtor and the case
number, and shall be delivered to Robert Angueira at 16 SW 1** Avenue, Miami, Florida 33130.

16. Upon payment of the sum of $15,000:

a. the Settling Parties shall be released of any and all causes of action vested in the
estate by operation of State or federal law; and

b. the Trustee shall forego objecting to the Debtor’s exemptions, the value of non-
exempt property, and the Debtor’s discharge.

17. As a material inducement to the Trustee's entry into this Stipulation, the Debtor
represents and warrants that: (a) all information contained in his Petition, Schedules, SOFA, and
all amendments thereto (collectively, the "Pleadings"), is true, correct and accurate; (b) the
Pleadings contain no material errors, omissions or misrepresentations; (c) all information and
documentation provided by, or on behalf of the Debtor to the Trustee (collectively, the
"Documents") are true, correct and accurate; (d) the Documents contain no material errors,
omissions or misrepresentations.

18. In the event that the Settling Parties fail to comply with the terms of the Stipulation,
including making any agreed-upon payment on a timely basis, or should the Trustee discover
that any of the Debtor's representations or warranties contained herein are untrue, the Trustee

shall have the right to proceed against any and all assets of the Debtor including, but not limited
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 4 of 21

Case No.: 16-21262-AJC

to, the property the Debtor has claimed as exempt, for the remainder of the amount due and
owing as set forth herein. In addition, the Trustee shall be entitled to interest, which shall accrue
at the statutory rate, attorneys' fees and costs. Further, the Trustee may file a Notice of Default
and submit an Order to the Court revoking the Debtor's discharge. Pursuant to the terms stated
herein, and the provisions of 11 U.S.C. §727(a)(10), the Debtor agrees to waive any procedural
requirements prior to the entry of an order revoking his discharge. However, no discharge shall
be revoked without a hearing.

19. The foregoing provisions of the Stipulation are included as a summary and is not a
complete recitation of the terms of the Stipulation. Accordingly, parties should review the
Stipulation in its entirety for a better understanding of all the terms thereof and not rely solely
upon the summary above.

The Settlement Should be Approved

20. The Trustee requests approval of the Settlement because it is fair and reasonable, falls
within the range of possible outcomes and is in the best interest of the parties involved.

21. Rule 9019(a) of the Federal Rules of Bankruptcy Procedure provides: “On motion by the
trustee and after a hearing on notice to creditors, the debtor... and to such other entities as the
court may designate, the court may approve a compromise or settlement.”

22. "[A]pproval of a settlement in a bankruptcy proceeding is within the sound discretion of
the Court, and will not be disturbed or modified on appeal unless approval or disapproval is an
abuse of discretion." Jn re Arrow Air, Inc., 85 B.R. 886, 891 (Bankr. S.D. Fla. 1988)(Cristol, J.)
(citing Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602-03 (5th Cir. 1980);
Anaconda-Ericsson, Inc. v. Hessen (In re Teltronics Servs., Inc.), 762 F.2d 185, 189 (2d Cir.

1985); In re Prudence Co., 98 F.2d 559 (2d Cir. 1938), cert. denied, 306 U.S. 636 (1939). The
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 5of 21

Case No.: 16-21262-AJC

test is whether the proposed settlement "falls below the ‘lowest point in the range of
reasonableness." Arrow Air, 85 B.R. at 891 (quoting Teltronics Servs., 762 F.2d at 189; Cosoff
v. Rodman (In re W. T. Grant Co.), 699 F.2d 599, 608 (2d Cir.), cert. denied, 464 U.S. 822
(1983).

23. According to the United States Eleventh Circuit Court of Appeals, when a bankruptcy

court decides whether to approve or disapprove a proposed settlement, it must consider:
(a) the probability of success in the litigation;
(b) the difficulties, if any, to be encountered in the matter of collection;
(c) the complexity of the litigation involved, and the expense, inconvenience
and delay necessarily attending it; and
(d) the paramount interest of the creditors and a proper deference to their
reasonable views in the premises.
Wallis v. Justice Oaks I, Ltd. (In re Justice Oaks II. Ltd.), 898 F.2d 1544 (11th Cir. 1990). See
Jackson Brewing, 624 F.2d 602, quoted in Arrow Air, 85 B.R. 891.

24. On Schedule A, Item #1.1, the Debtor declared that as of Petition Date he owned an
interest in certain real property located at 210 174 St #1716, Sunny Isles Beach, FL 33160 (the
“Homestead Property”), which the Debtor claimed exempt pursuant to Fla. Const. art. X, §
4(a)(1) Fla. Stat. Ann. §§222.01 & 222.02.

25. The Trustee argues that the Estate may have certain causes of action and or objections
regarding the Homestead Property. However, in order to be able liquidate the Homestead
Property the Trustee would have to object to the Debtor’s claimed Homestead Exemption and
therefore litigate against the Debtor. There would be additional expenses associated with the
litigation, and inconvenience and delay necessarily attending it.

26. Even if the Trustee’s objection were sustained and the Trustee was allowed to liquidate

the Homestead Property, the Estate would have to incur additional expenses to sell the

Homestead Property. The Trustee argues that it appears that there would be no monetary net gain
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 6 of 21

Case No.: 16-21262-AJC

to the creditors because the estate will be getting very close to the amount that is at issue in this
matter.

27. For example, the Homestead Property has a mortgage of approximately $265,000.00. The
value of the Homestead Property pursuant to the Miami-Dade Property Appraiser is $250,600.00
and $311,506.00 pursuant to Zillow. The Trustee anticipates that the fees and costs associated
with litigating the matter, and liquidating the Homestead Property, would likely exceed the
amounts to be recovered.

28. Because, among other things, the Proposed Settlement: (a) avoids the expense and
uncertainty of litigation (b) monetizes the Estate’s interest in the Property; and (c) avoids the
expense and uncertainty of marketing and liquidating the Property, the Trustee believes that the
Proposed Settlement meets the standards set forth in Jn re Justice Oaks IT, and therefore,
recommends approval of the settlement as fair and reasonable, and within the reasonable range
of possible litigation outcomes. In addition, the Proposed Settlement minimizes administrative
expenses to the Estate, increases the dividend available to creditors, and allows for a distribution
of sums and proceeds within a reasonable time.

29. Based on the specific facts and circumstances of this case, the Trustee has determined
that $15,000.00 would be a reasonable settlement amount in this case. The Trustee respectfully
submits that application of these principles leads to the conclusion that the Stipulation, enclosed
as Exhibit “1”, should be approved with the Court retaining jurisdiction to enforce the terms of
the settlement.

30. Pursuant to Local Rule 9013-1(D), a copy of the proposed Order is attached hereto as
Exhibit 2.

WHEREFORE, the Trustee respectfully requests the entry of an Order (a) granting this
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 7 of 21

Case No.: 16-21262-AJC

motion; (b) approving the stipulation to compromise controversy with the Debtor; (c) granting
such other and further relief as this Court deems appropriate.

Respectfully submitted this ath day of August, 2017.

ROBERT A. ANGUEIRA, P.A.
16 S.W. 1*' Avenue

Miami, Florida 33130

Tel. (305) 263-3328

Fax (305) 263-6335
e-mail yana

NAY GALBAN, ESQ
Florida Bar No. 0105146
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 8 of 21

Case No.: 16-21262-AJC

CERTIFICATE OF SERVICE

I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this

oh day of August, 2017, to all parties on the enclosed mailing matrix and the following parties:

I CERTIFY that a true and correct copy of the foregoing was served via the Notice of

Electronic Filing on this »Ahday of August, 2017, to:

Robert A Angueira _ trustee@rabankruptcy.com,
f179@ecfcbis.com;raa@trustesolutions.net;tassistant@rabankruptcy.com;richard@rabank
ruptcy.com;lillian@rabankruptcy.com

Jeffrey S Fraser bk fl@albertellilaw.com

Yanay Galban yanay@rabankruptcy.com, robert@rabankruptcy.com

Kevin C Gleason kgpaecmf@aol.com

Steven G Legum = sgl@legum.biz

Ashleigh C McKenzie _ bkfl@albertellilaw.com

Steven S Newburgh snewburgh@mclaughlinstern.com,
ssn@newburghlaw.net;pcampbell@mclaughlinstern.com;arotan@mclaughlinstern.com;B
Elliott@mclaughlinstern.com

Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Amanda Peterson apeterson@wegandmyers.com

Jeffrey Solomon — solomonjeffrey@hotmail.com, valery.solomonlaw@gmail.com

Stuart A Young syoung@ybplaw.com

ROBERT A. ANGUEIRA, P.A.
16 S.W. 1° Avenue
Miami, Florida 33130
Tel. (305) 263-3328
Fax (305) 263-6335
e-mail yanay(@rabank

Y GALBAN, ESQ
Florida Bar No. 0105146
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 9 of 21

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
In re: CASE NO.: 16-21262-AJC
MOSHE ENBAR, CHAPTER 7

Debtor.

STIPULATION FOR SETTLEMENT

This Stipulation for Settlement (the "Stipulation") is made this 4 day of August, 2017
by and between (a) Maurice (Moshe) Enbar (the "Debtor"); (b) Linda Enbar; (c) Adam Enbar;
(d) Melissa Benzel (the foregoing collectively referred to as the “Settling Parties”); and (e)
Robert A. Angueira, solely in his capacity as Chapter 7 trustee of the bankruptcy estate of the
Debtor (the Trustee"), collectively referred to as the "Parties".

WHEREAS, on August 16, 2016, the Debtor filed a voluntary petition for relief under
Chapter 7 of the bankruptcy code, Case No, 16-2]262-AJC (the "Bankruptcy Case");

WHEREAS thereafter, the Trustee was appointed;

WHEREAS, the Trustee has investigated, among other things, the propriety of the
Debtor's claimed exemptions, the Debtor’s financial condition, and the Debtor’s business
transactions;

WHEREAS, the Trustee has found no evidence that the Debtor has transferred, removed,
destroyed, mutilated, or concealed, or permitted to be transferred, removed, destroyed, mutilated,
or concealed property of the debtor, within one year before the date of the filing of the petition;

WHEREAS, the Trustee has not found evidence that the Debtor has in or in connection
with the case made a false oath or account;

WHEREAS, the Trustee has not found evidence that the Debtor has withheld from the
Trustee any recorded information, including books, documents, records, and papers, relating to

the debtor's property or financial affairs;

i
oa

Case 16-21262-AJC Doc150 Filed 08/07/17 Page 10 of 21

WHEREAS, the Debtor has not failed to explain satisfactorily any loss of assets or
deficiency of assets to meet the Debtor's liabilities;

WHEREAS, the Trustee has: investigated transactions related to- 210 174 St., #1716
Sunny Isles Beach, FL 33160, 345 Broadway Lawrence, NY 11559, and 19355 Turnberry Way
#26A Aventura, FL 33180; investigated any transactions regarding the following trusts, which
may or may not exist- Lawrence Enbar Trust, Linda Enbar Asset Trust, Adam Enbar Trust,
Melissa Benzel Trust; evaluated the Debtor’s listed Household Goods and Furnishings,
Electronics, Jewelry, Magnum Real Estate Services, Inc.; investigated the following entities-
Magnum Realty Holdings LLC, Lawrence Moving and Storage, Inc., and 164 West 146 Street
LLC, Enbar Investments LLC; and generally investigated the Debtor’s financial condition and
business transactions.

WHEREAS, in order to, among other things: (a) avoid the costs and uncertainties of
further discovery and litigation; and (b) ensure that the totality of any recovery is not consumed
by administrative expenses, without any of the Parties admitting any fault or liability, the Parties
agreed to settle this matter amicably and without further litigation;

WHEREAS, the Parties wish to set forth the terms of their settlement in this Stipulation,

NOW, THEREFORE, in consideration of the foregoing, and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties
stipulate and agree as follows:

1. Recitals Incorporated, Recitals and prefatory phrases and paragraphs set forth above are
hereby incorporated in full and made a part of the Stipulation.

2, Settlement Consideration. In full satisfaction, settlement and release of all fully scheduled
and fully disclosed claims and assets in the bankruptcy case, the Settling Parties agree to
pay to the Trustee, and the Trustee agrees to accept, the total sum of Fifteen Thousand
and 0/100 dollars ($15,000.00) in cleared funds (the “Settlement Amount"), to be paid
within 5 days after the order approving this Settlement becomes final and non-appealable.

3, Upon payment of the sum of $15,000:

a. the Settling Parties shall be released of any and all causes of action vested in the

estate by operation of State or federal law; and

b. the Trustee shall forego objecting to the Debtor’s exemptions, the value of non-

exempt property, and the Debtor’s discharge.
10.

Case 16-21262-AJC Doc150 Filed 08/07/17 Page 11 of 21

Condition Precedent. The Parties agree that enforceability of the Stipulation is subject
only to entry of a final, non-appealable order of the Bankruptcy Court approving this
Stipulation.

Frustration of Purpose. None of the Parties shall take any action to intentionally frustrate
the purpose of the Stipulation, and shall each use their best efforts to obtain Bankruptcy
Court approval of this Stipulation.

Fees and Costs. Each of the Parties agrees to bear their own attorneys’ fees and costs with
respect to the Bankruptcy Case and with respect to the Stipulation.
Representations and Warranties: As a material inducement to the Trustee's entry into this
Stipulation, the Debtor represents and warrants that: (a) all information contained in his
Petition, Schedules, SOFA, and all amendments thereto (collectively, the "Pleadings"), is
true, correct and accurate; (b) the Pleadings contain no material errors, omissions or
misrepresentations; (c) all information and documentation provided by, or on behalf of
the Debtor to the Trustee (collectively, the "Documents" are true, correct and accurate;
(d) the Documents contain no material errors, omissions or misrepresentations.

Default: In the event that the Settling Parties fail to comply with the terms of this
Stipulation, including making any agreed-upon payment on a timely basis, or should the
Trustee discover that any of the Debtor's representations or warranties contained herein
are untrue, the Trustee shall have the right to proceed against any and all assets of the
Debtor including, but not limited to, the property the Debtor has claimed as exempt, for
the remainder of the amount due and owing as set forth herein. In addition, the Trustee
shall be entitled to interest, which shall accrue at the statutory rate, attorneys’ fees and
costs. Further, the Trustee may file a Notice of Default and submit an Order to the Court
revoking the Debtor's discharge. Pursuant to the terms stated herein, and the provisions of
11 U.S.C. §727(a)(10), the Debtor agrees to waive any procedural requirements prior to
the entry of an order revoking his discharge. However, no discharge shall be revoked
without a hearing.

Binding Effect: The Stipulation shall be binding upon and inure to the benefit of the
Parties hereto and their respective successors and assigns.

Entire Agreement: The Stipulation constitutes the entire agreement of the Parties hereto

as to the subject matter hereof. The undersigned acknowledge that there are no
11.

12.

13.

14.

15.

16,

17,

18.

Case 16-21262-AJC Doc150 Filed 08/07/17 Page 12 of 21

communications or oral understandings contrary, different, or that in any way restrict the
Stipulation, and that all prior agreements or understandings within the scope of the
subject matter of the Stipulation are superseded, null and void.

Amendments: No waiver, modification or amendment of the terms of the Stipulation
shall be valid or binding unless made in writing, signed by the Party to be charged and
then only to the extent as set forth in such written waiver, modification, or amendment.
Counterparts: The Parties may execute this Stipulation in whole or counterparts, and
execution of counterparts shall have the same force and effect as if the Parties had signed
the same instrument. Signatures transmitted by facsimile and e-mail shall have the same
effect as original signatures.

Choice of Law: This Stipulation shall be governed by, and construed and enforced in
accordance with, the laws of the State of Florida, without regard to its conflict of law
principles.

Best Efforts: The Parties and their counsel shall use their best efforts to effectuate the
settlement of the stated terms and conditions set forth herein.

Neutral Interpretation: In the event any dispute arises among the Parties with regard to
the interpretation of any term of this Stipulation, all of the Parties shall be considered
collectively to be the drafting Party, and any rule of construction to the effect that
ambiguities are to be resolved against the drafting party shall be inapplicable.

Authority: Each Party to this Stipulation warrants and represents that the person signing
this Stipulation on its behalf is duly authorized to enter into this Stipulation on behalf of
such Party, Each Party signing this Stipulation separately acknowledges and represents
that this representation and warranty is an essential and material provision of this
Stipulation and shall survive execution of this Stipulation.

Tllegality: If any clause, provision, or paragraph of this Stipulation shall, for any reason,
be held illegal, invalid, or unenforceable, such illegality, invalidity, or enforceability shall
not affect any other clause, provision, or paragraph of this Stipulation, and this
Stipulation shall be construed and enforced as if such illegal, invalid, or unenforceable
clause, paragraph, or other provision had not been contained herein.

Retention of Jurisdiction: The Bankruptcy Court shall retain sole and exclusive personal

and subject matter jurisdiction over the Parties and the subject matter, interpretation,
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 13 of 21

effectuation, and enforcement of the terms of the Stipulation.
IN WITNESS HEREOF, the undersigned, being duly authorized, have caused the
Stipulation for Settlement to be effective as of the date set forth above.

Robert A. Angueira,
i in his A city as Chapter 7 trustee

\

Maurice Enbar, ne

Linda Enbar

Adam Enbar

LLL

Melissa Benzel

Case 16-21262-AJC Doc150 Filed 08/07/17 Page 14 of 21

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
fire: CASE NO.: 16-21262-AJC
MOSHE ENBAR, CHAPTER 7

Debtor. :
/

ORDER GRANTING TRUSTEE’S MOTION TO APPROVE
STIPULATION TO COMPROMISE CONTROVERSY

THIS MATTER came to the Court on the Chapter 7 Trustee’s Motion to Approve

Stipulation to Compromise Controversy [D.E. #___] (the “Motion”. The Motion has been served

on all interested parties and creditors, pursuant to the Federal Rules of Bankruptcy Procedure and

the Local Rules of this Court (on Negative Notice). The Court, having reviewed the file, the

Motion, the Stipulation attached as Exhibit “1” to the Motion, and record herein, good cause

having been shown, and being otherwise duly advised in the premises. It is therefore,

ORDERED AND ADJUDGED that:

1. The Motion is GRANTED and the Settlement is APPROVED on the terms and

EXHIBIT

x

Case 16-21262-AJC Doc150 Filed 08/07/17 Page 15 of 21

2. conditions set forth in the Motion and the Stipulation to Compromise Controversy
attached as Exhibit “1” to the Motion (the “Stipulation”).

3. The Debtor will pay the Trustee a total sum of $15,000.00 the total sum of Fifteen
Thousand and 0/100 dollars ($15,000.00) in cleared funds (the "Settlement Amount’), to be paid
within 5 days after this order becomes final and non-appealable.

4, The Settlement Payment shall be made via cashier’s check or money orders made
payable to “Robert Angueira, Trustee,” shall clearly state the name of the Debtor and the case
number, and shall be delivered to Robert Angueira at 16 SW 1* Avenue, Miami, Florida 33130.

5. Upon payment of the sum of $15,000:

a. the Settling Parties shall be released of any and all causes of action vested in the
estate by operation of State or federal law; and

b. the Trustee shall forego objecting to the Debtor’s exemptions, the value of non-
exempt property, and the Debtor’s discharge.

6. Enforceability of the Stipulation is subject only to entry of a final, non-appealable
order of the Bankruptcy Court approving this Stipulation.

7. Under the terms of the Settlement, none of the Parties shall take any action to
intentionally frustrate the purpose of the Stipulation.

8. Under the terms of the Settlement, each of the Parties agrees to bear their own
attorneys’ fees and costs with respect to the Bankruptcy Case and with respect to the Stipulation.

9. As a material inducement to the Trustee's entry into the Stipulation, the Debtor
represents and warrants that: (a) all information contained in his Petition, Schedules, SOFA, and
all amendments thereto (collectively, the "Pleadings"), is true, correct and accurate; (b) the

Pleadings contain no material errors, omissions or misrepresentations; (c) all information and
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 16 of 21

documentation provided by, or on behalf of the Debtor to the Trustee (collectively, the
"Documents”) are true, correct and accurate; (d) the Documents contain no material errors,
omissions or misrepresentations.

10. | Under the term of the Settlement, in the event that the Settling Parties fail to
comply with the terms of the Stipulation, including making any agreed-upon payment on a
timely basis, or should the Trustee discover that any of the Debtor's representations or warranties
contained therein are untrue, the Trustee shall have the right to proceed against any and all assets
of the Debtor including, but not limited to, the property the Debtor has claimed as exempt, for
the remainder of the amount due and owing as set forth in the Settlement. In addition, the Trustee
shall be entitled to interest, which shall accrue at the statutory rate, attorneys’ fees and costs.
Further, the Trustee may file a Notice of Default and submit an Order to the Court revoking the
Debtor's discharge. Pursuant to the terms stated in the Settlement, and the provisions of 11
U.S.C. §727(a)(10), the Debtor has agreed to waive any procedural requirements prior to the
entry of an order revoking his discharge. However, no discharge shall be revoked without a
hearing.

11. The Stipulation shall be binding upon and inure to the benefit of the Parties hereto
and their respective successors and assigns.

12. The Stipulation constitutes the entire agreement of the Parties hereto as to the
subject matter hereof. The undersigned acknowledge that there are no communications or oral
understandings contrary, different, or that in any way restrict the Stipulation, and that all prior
agreements or understandings within the scope of the subject matter of the Stipulation are
superseded, null and void.

13. No waiver, modification or amendment of the terms of the Stipulation shall be
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 17 of 21

valid or binding unless made in writing, signed by the Party to be charged and then only to the
extent as set forth in such written waiver, modification, or amendment.

14. The Stipulation shall be governed by, and construed and enforced in accordance
with, the laws of the State of Florida, without regard to its conflict of law principles.

15. Under the term of the Settlement, in the event any dispute arises among the
Parties with regard to the interpretation of any term of the Stipulation, all of the Parties shall be
considered collectively to be the drafting Party, and any rule of construction to the effect that
ambiguities are to be resolved against the drafting party shall be inapplicable.

16. Under the terms of the Settlement, each Party to the Stipulation warrants and
represents that the person signing the Stipulation on its behalf is duly authorized to enter into the
Stipulation on behalf of such Party. As provided in the Stipulation, each Party signing the
Stipulation separately has acknowledges and represents that this representation and warranty is
an essential and material provision of this Stipulation and shall survive execution of this
Stipulation.

17. If any clause, provision, or paragraph of the Stipulation shall, for any reason, be
held illegal, invalid, or unenforceable, such illegality, invalidity, or enforceability shall not affect
any other clause, provision, or paragraph of the Stipulation, and the Stipulation shall be
construed and enforced as if such illegal, invalid, or unenforceable clause, paragraph, or other
provision had not been contained in the Stipulation.

18. The settlement proceeds of $15,000.00 are allocated to the Estate’s possible
causes of action and or objections to regarding the Debtor’s Homestead Property.

19. | The Bankruptcy Court shall retain sole and exclusive personal and subject matter

jurisdiction over the Parties and the subject matter, interpretation, effectuation, and enforcement
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 18 of 21

of the terms of the Stipulation.

HHH
Submitted by

ROBERT A. ANGUEIRA, P.A.
16 S.W. 1% Avenue

Miami, FL 33130

Tel. 305-263-3328

Fax 305-263-6335

e-mail: yanay@rabankruptcy.com

Copies furnished to:
Yanay Galban, Esq.

(Attorney Yanay Galban is directed to serve copies of this Order upon the Debtor, the Trustee, the Attorney for the
Debtor, the U.S. Trustee, and all parties who have entered an appearance in this case, upon receipt thereof, and to
file a Certificate of Service with the Court confirming such service.)
Case 16-21262-AUC

50 East 119th Street, LLC
c/o Kahn & Goldberg, LLP
Michele Kahn, ESQ

708 3 Ave, 19 Floor

New York, NY 10017-4201

Bankamerica
4909 Savarese Circ
Tampa, FL 33634-2413

Bayview Financial Loan
4425 Ponce De Leon Blvd
Coral Gables, FL 33146-1873

Bk Of Amer
4909 Savarese Circ
Tampa, FL 33634-2413

Caliber Home Loans, In
Po Box 24610
Oklahoma City, OX 73124-0610

Capital One
Po Box 5253
Carol Stream, IL 60197-5253

Citi-shell
Po Box 6497
Sioux Falls, SD 57117-6497

Credit Coll
Po Box 607
Norwood, MA 02062-0607

Dodge Enterprises, Inc

c/o Hiday & Ricke, P.A,

Joe M Eckelkamp, ESQ

POB 550858

Jacksonville, FL 32255-0858

EAMA Capital, LLC

c/o Steven §. Newburgh, Esq.
525 Okeechobee Boulevard #1700
West Palm Beach, FL 33401-6327

AJAX WEST 123rd Street LLC

c/o Nachamie, Spizz, Cohen & Serchuck PC
425 Park Avenue 5 Floor

New York, NY 10022-3506

(p) BANK OF AMERICA
PO BOX 982238
EL PASO TX 79998-2238

Beach 116-23 LLC

c/o Law Offices of Martin Kurlander
100 Henry St

Brooklyn, NY 11201-1713

Builders Bank

c/o Law Offices of Richard D Grossman
225 W Wacker Dr

Suite 1550

Chicago, IL 60606-1223

Cap1/saks
3455 Hwy 80 West
Jackson, MS 39209-7202

Chase Auto
Po Box 901003
Ft Worth, TX 76101-2003

City National Bank fka Imperial Capital
Reed Smith LLP

599 Lexington Ave

New York, NY 10022-7684

Discover Bank

Discover Products Inc

PO Box 3025

New Albany, OH 43054-3025

Dsnb Bloon
Po Box 8218
Mason, OH 45040-8218

Case 16-21262-AJC Doc150 Filed 08/07/17 Page 19 of 21

U.S, Bank Trust, N.A,
c/o Albertelli Law
POB 23028

Tampa, FL 33623-2028

Amex
Po Box 297871
Fort Lauderdale, FL 33329-7871

Barclays Bank Delaware
P.o, Box 8803
Wilmington, DE 19899-8803

Bk Of Amer
4909 Savarese Cir
Tampa, FL 33634-2413

CACH, LLC

c/o Andreu, Palma & Andreu, PL
1000 NW 57 CT #400

Miami, FL 33126-3292

Capital One
Po Box 30253
Salt Lake City, UT 84130-0253

Chase Card
Po Box 15298
Wilmington, DE 19850-5298

City of National Bank
c/o Reed Smith LLP

599 Lexington Ave

New York, NY 10022-6030

Discover Fin Svcs Llc
Po Box 15316
Wilmington, DE 19850-5316

Denb Macys
Po Box 8218
Mason, OH 45040-8218
Case 16-21262-AJC Doc150 Filed 08/07/17 Page 20 of 21

EAMA Capital LLC

c/o Heltner & Breitstein
26 Court St

Brooklyn, NY 11242-0103

Grand Palm (NY) LLC

c/o Olshan Frome Wolosky LLP
Park Avenue Tower

65 £55 St

New York, NY 10022-3372

M&M Beach 116 Street LLC

c/o Law Offices of Martin Kurlander
100 Henry St

Brooklyn, NY 11201-1713

(p) NATIONSTAR MORTGAGE LLC
PO BOX 619096
DALLAS TX 75261-9096

Richard Legum

c/o Randy M Stein

170 Old Country Rd
Mineola, NY 11501-4322

Syncb/brandsmart
Po Box 965036
Orlando, FL 32896-5036

Synch/pe Richard
Po Box 965036
Orlando, FL 32896-5036

Td Res/mleigh
1000 Macarthur Bv
Mahwah, Nd 07430-2035

Unavl/citi
Po Box 6241
Sioux Falls, SD 57117-6241

Amanda Peterson
52 Duane Street 2nd Floor
New York, NY 10007-1232

BAMA Capital, LLC

c/o Sloane Properties

157-02 Crogsbay Blvd #203
Howard Beach, NY 11414-2750

Inter Capital Commercial Finance, LLC
333 Meadowlands Pkwy #304
Secaucus, NJ 07094-1820

Mb Fin Sves
36455 Corporate Dr
Farmington Hills, MI 48331-3552

Steven G Legum
170 Old Country Rd
Mineola, NY 11501-4311

Syncb/brook Bras
Po Box 965005
Orlando, FL 32896-5005

Syncb/sleepys
C/o Po Box 965036
Orlando, FL 32896-0001

Thd/cbna
Po Box 6497
Sioux Falls, SD 57117-6497

Zaida Gardens LLC

c/o The Law Office of William F Guilford
40 Exchange Place #2010

New York, NY 10005-2790

Dennis T D’Antonio
52 Duane Street, Second Floor
New York, NY 10007-1207

Fred & Michelle Goodstein
c/o Weg and Myers, PC,
Federal Plaza

52 Duane Street, 2nd Floor
New York, NY 10007-1232

Internal Revenue Service*
POB 7346
Philadelphia, PA 19101-7346

Meir David Dery

c/o Law Offices of Martin Kurlander
100 Henry St

Brooklyn, NY 11201-1713

Richard A, Legum
49 Meadow Lane
Lawrence, New York 11559-1827

Syncb/gateway
C/o P.o. Box 965036
Orlando, FL 32896-0001

Synchrony Bank

c/o PRA Receivables Management, LLC
PO Box 41021

Norfolk VA 23541-1021

Toyota Motor Credit Co
1000 Bridgeport Ave # 4t
Shelton, CT 06484-4660

Zaida Gardens LLC, Zananda Moody,
Sheila Wilson, Darryl Mayer

46 Trinity Place, 2nd Floor

New York, NY 10006-2269

Joshua L Mallin
52 Duane Street 2nd Floor
New York, NY 10007-1232

Case 16-21262-AJC Doc 150

Martin Claire
8339 NW 74 St
Miami, FL 33166-2323

Filed 08/07/17

Page 21 of 21

Moshe Enbar
210 174 St #1716
Sunny Isles Beach, FL 33160-3362

